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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       VICTORIA DIVISION

In re:                                             §     CHAPTER 11
                                                   §
BUCCANEER RESOURCES,                               §     CASE NO. 14-60041 (DRJ)
LLC, et al.                                        §
            Debtors.                               §     Jointly Administered
                                                   §

                                   NOTICE OF FINAL DISTRIBUTION

         PLEASE TAKE NOTICE THAT Jeffrey Compton, as Liquidating Trustee (the “Liquidating

Trustee”) appointed under the order [Dkt. no. 591] confirming The First Amended Joint Plan of

Reorganization for the Debtors and the Debtors-in-Possession (the “Plan”), files this Notice of Final

Distribution.

         PLEASE TAKE FURTHER NOTICE THAT the Liquidating Trustee proposes to make the

distribution as set out on Exhibit A to this Notice. If any party objects to the distribution set out on

Exhibit A, the objecting party must notify the Liquidating Trustee in writing through the

undersigned counsel no later than fourteen (14) days from the date of this Notice. Otherwise, any

objection to the proposed distribution will be considered waived, and the Liquidating Trustee will proceed

to make the distribution.

         PLEASE TAKE FURTHER NOTICE THAT this distribution will be the final distribution

from the Liquidating Trust, subject to the provisions of Article 8.6 of the Plan and the subsequent

distribution of unclaimed Distributions, if any.

         PLEASE TAKE FURTHER NOTICE THAT, in accordance with Article V of the Plan, the

Liquidating Trustee has reserved from this distribution such amounts as deemed reasonably necessary to

pay the reasonable expenses of making the proposed final distribution and the winding up of the

Liquidating Trust.




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May 10, 2018

                                               Respectfully submitted,

                                               /s/ Elizabeth M. Guffy
                                               Elizabeth M. Guffy
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                                               eguffy@lockelord.com

                                               Attorneys for Jeff Compton, Liquidating Trustee


                                   CERTIFICATE OF SERVICE

         The undersigned certifies that, on May 10, 2018, the foregoing Notice of Final Distribution was
served electronically via ECF those parties receiving ECF service and by first class mail on the parties
listed on the attached service list.

                                               /s/ Elizabeth M. Guffy
                                               Elizabeth M. Guffy




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